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                                                                                              Exhibit B
                                                                                                PageID 473




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 Date:                    July 27, 2023

 To:                      Gary Pennington
 Delivery via email:      gary@blackstoneclaimservices.com

 Re:                      Hail damage to clay tile roof
                          2211 Vaquero Club
                          Westlake, Texas 76262

 DOL:                     April 28, 2021


 INSTRUCTIONS:

 Pursuant to your instructions we evaluated the roof on the subject property to determine if hail damaged
 the Mexican barrel style clay roof tiles. The insurance company providing coverage for the dwelling
 reportedly requested additional data related to 1) the size of hail that impacted the roof at the subject roof
 location and 2) examples of fractures to the roof slates. We were to review your photos of the property
 and combine those for review with our photos. You asked that we write a preliminary report with
 documentation to support our findings.


 PROPERTY DESCRIPTION:

 The residence is a two-story wood framed structure with a hip style roof that is finished with barrel style
 Mexican clay roof tiles over wooden decking. Report photos 1.1 through 1.5 are overhead and elevation
 aerial views of the residence.


 DISCUSSION:

 Clear ice hailstones are harder than hailstones made of cloudy ice. Based upon practical field experience
 over several decades, hail fractures to the Mexican clay tile can occur with hailstones that measure 1.50”
 or larger in diameter. This observation is also based upon our tests conducted with hail canons, firing
 simulated “clear ice” hailstones into roofing products at terminal velocity.

 During the process of manufacturing the tiles manufactured in Mexico are not subjected to the high
 temperatures that are typical to produce clay tiles manufactured in the USA or Europe. This makes them
 potentially more susceptible to damage from hail impact, especially if the hail is irregular in shape. The
 hardness and shape of hailstones, angle of impact and velocity are factors that may produce variables in
 the appearance of fractures and bruises to most roofing products, including Mexican clay tile.
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                                         garyt@chaparralconsulting.com
                                        c: 469.337.5993 f: 469-385.8801
                                    P. O. Box 1810, Midlothian, Texas 76065                     EXHIBIT
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 Irregular (jagged) shaped clear ice hailstones consistently causes a greater degree of damage compared to
 what is typical for smooth (round) hailstones. Photo 7.1 depicts a simulated jagged 1.75 inch “clear ice”
 (hard) hailstone that is typical for what we use during hail cannon tests. The appearance (shape) of
 fractures can be different from what smooth (round) hailstones cause. Sharp edges or points of jagged
 hailstones are more likely to make fractures on the edges of tile and can also cause chips on the field of
 Mexican clay tile.


 WEATHER RESEARCH:

 The 4/28/2021 hailstorm in Northern Tarrant County was well published by DFW news media. These
 reports provided photos depicting windshields of cars with hail penetrations measuring at least 2.5”
 (photo 2.3).

 CoreLogic produces one of the most recognized hail reporting services, so we included one of their
 reports herein, indicating hail measuring 2.4” within one mile and 2.6” within 3 miles. CoreLogic rarely
 overstates hail size and typically will report smaller hail size than what actually occurred. Upon request
 we can produce examples of supporting data and photos to support this conclusion.

 One of the reasons for inaccuracy in hail reports is that turbulent storms can “project” hail miles away
 from the clouds where the hailstones formed. We have documented damage from very large hail that was
 discovered several miles away from the typical “hail swaths” that are provided in Core Logic and other
 similar hail reports. This includes inaccuracy of swaths provided by NOAA (National Oceanic and
 Atmospheric Administration). Photo 2.1was from a Google search, showing typical jagged hailstones
 and three weather illustrations that demonstrate how hail forms and can be projected from clouds to points
 miles distant from the clouds.

 Photo 2.2 shows a hailstone that was picked up by a Westlake resident. Photo 2.3 shows windshield
 damage to a car in Keller, located immediately south of Westlake.


 OBSERVATIONS:

 We evaluated several roofs in the gated community where the subject property is located that were
 damaged by the April 28, 2021 hailstorm. The direction of hail impact was generally from the northwest
 but some of the larger stones fell very nearly vertically.

 The length of time that passed since the hailstorm on April 28, 2021 is sufficient for fading of hail
 spatters. However, some hail spatters and hail scuffs were still identifiable during our evaluations at
 several locations in the community. At all of the roofs evaluated in the community we were able to
                                                                                                   2|Page
                                        garyt@chaparralconsulting.com
                                       c: 469.337.5993 f: 469-385.8801
                                   P. O. Box 1810, Midlothian, Texas 76065
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 determine that the hail was consistently irregular in shape. This is an important observation since the full
 kinetic energy of jagged hailstones can be concentrated in a smaller surface contact area.

 The following photos were all taken in the gated community (neighborhood) where the 2211 Vaquero
 Club residence is located:

     A. Photo 3.1 shows an irregular shaped (jagged) hail scuff at King Fisher Drive.
     B. Photo 3.2 shows hail spatter on concrete at King Fisher Drive.
     C. Photo 3.3 shows a 2.25” hail spatter on a roof slate at Post Oak Place.
     D. Photo 3.4 shows hail scuffs on a wood panel at Nighthawk Court. Most of the scuffs have
        multiple points of hailstone contact that were made by jagged hailstones.

 Documenting spatter and wood scuffs provides useful observations; however, the actual size of hail is
 typically 1/3rd larger than the spatter or scuffs created. The largest hail spatters and scuffs observed
 during our roof evaluations in this community were consistent with hail measuring approximately 2.5” in
 diameter. Photos 4.3 through 4.5 depict dents to aluminum window frames. Photo 4.6 shows a dent to a
 20 gauge (thick) AC condensing unit cowling and dents to the wire fan guard. Photo 4.7 shows large
 dents to metal roof panels, 4.8 shows dents to a downspout and 4.9 shows dents to a roof mounted vent.
 Photo 4.10 shows hail damage to paint on a wood pergola at the driveway entry. These are all examples
 of evidence that significant hailfall occurred.

 The following table provides universally accepted examples of hail velocities and impact energy that can
 be produced by hailstones. The table does not address other variables such as increases in velocity due to
 wind forces, shape and hardness of hailstones or angle(s) of impact.




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                                        garyt@chaparralconsulting.com
                                       c: 469.337.5993 f: 469-385.8801
                                   P. O. Box 1810, Midlothian, Texas 76065
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 TESTS PERFORMED

 Irregular (jagged) shaped clear ice hailstones will consistently cause a greater degree of damage when
 compared to what smooth (round) hailstones can cause. That includes the appearance (shape) of fractures
 that smooth (round) hailstones typically cause. Edges of jagged hailstones are more likely to make
 fractures on the edges of tile and can also cause chips on the surface of Mexican clay tile. Damaged
 (chipped) tiles can absorb more moisture that may result in future freeze-thaw fractures. If the subject
 residence is refinanced or sold, lenders could require total replacement of the roof before approving a
 loan.

 Fracture lines in clay tile will not always occur at a point along fracture lines. This is demonstrated by
 photo 7.1 (taken in 2015 at an International Accreditation Service certified lab in Hutto, Texas). The
 fracture was made with a compressed air hail cannon firing a two-inch (round, clear ice) simulated
 hailstone at approximately terminal velocity. The significance of this observation is that the point of
 impact was not along the fracture (crack) line.

 Tile from the subject roof was tested by firing a 1.75” clear ice simulated hailstones at 80 MPH velocity
 (photos 6.1 through 6.3). The tile was broken at the point of impact (red arrow in photo 6.2). As shown
 in the chart above, terminal velocity for that sized hailstone is 66 MPH. We used 80 MPH in the test
 firing for two reasons. The velocity of hail impacting the residence was at least 80 MPH (based upon the
 terminal velocity for 2.5” hail that was confirmed to impact the residence). Hail dents to window screen
 frames are common; however, wind driven hail is required for hailstones to make the dents on the sides of
 window frames (photo 4.5). It is unusual for horizontal aluminum window frame components to be
 significantly dented (photos 4.1 through 4.4). It is much more unusual for the vertical (side) frames to be
 dented (photo 4.5). Based upon the physical evidence observed at the subject residence, the hail was
 obviously wind driven and in excess of terminal velocity.

 For the hail cannon tests in the “6” series photos we used 80 MPH firing velocity. That is the terminal
 velocity for a 2.5” hailstone (the proven size of hail that impacted the residence). The 1.75” simulated
 hailstone had less than 1/3rd of the ft. lbs. of potential impact energy that a 2.5” stone can produce (14 ft.
 lbs for 1.75” vs 53 ft lbs for 2.5”). Using the higher velocity with a smaller hailstone eliminates any
 doubt that hail impacting the property was adequate to cause damage shown on photos 5.2 through 5.5.
 For comparison purposes new Mexican clay tile was purchased (the new tile example is shown in photo
 8.1). There is a stark difference in the damaged condition of tiles taken from the residence (shown in
 photos 5.2 through 5.5) vs the newly purchased tile shown in photo 8.1.

 Photo 8.2 shows one of our “clear ice” 1.75” simulated hailstone. Photo 8.3 shows the hail cannon barrel
 size used for the test (one of six sizes in our barrel inventory). We used a radar gun (designed for the
 typical velocity of baseballs) to measure velocity of the simulated hailstones. We also use a ballistic
 chronograph for some hail cannon tests but find the radar gun to be more appropriate for velocities from
 50-90 MPH.
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                                         garyt@chaparralconsulting.com
                                        c: 469.337.5993 f: 469-385.8801
                                    P. O. Box 1810, Midlothian, Texas 76065
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 CONCLUSIONS:

     1. The Mexican clay roof tiles on the subject roof were damaged by hail on the April 28, 2021
        reported date of loss. There is a stark difference in the surface of tile from the subject roof when
        compared to newly purchased tile.
     2. Hail spatters and scuffs measuring 2.5” were observed at the subject residence and at other nearby
        residences we inspected in the community.
     3. We previously observed slate and other tile roofs in the gated community with comparable
        damageg to what was observed on the subjectj roof.
     4. The roof should be replaced due to hail damage that occurred on April 28, 2021.

 Please let us know if you have any questions or further instructions.

 Respectfully submitted,




 Gary B. Treider
 Project Director




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                                        garyt@chaparralconsulting.com
                                       c: 469.337.5993 f: 469-385.8801
                                   P. O. Box 1810, Midlothian, Texas 76065




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Hail Verification Report
 Claim or Reference #                 VAQUERO CLUB DRIVE
 Insured/Property Owner               VAQUERO CLUB DRIVE
 Address                              2211 Vaquero Club Dr
                                      Westlake, TX 76262
 Coordinates                          Latitude 32.968526, Longitude -97.192307
 Date Range                           Jul 10, 2013 to Jul 09, 2023
 Report Generated                     July 10th, 2023 at 12:23:50 UTC




Storm Events
                                                                 Estimated Maximum Hail Size
           Date                      At Location         Within 1 mi / 1.61 km         Within 3 mi / 4.83 km            Within 5 Miles
       Jun 11, 2023              0.9 in / 2.29 cm            1.6 in / 4.06 cm              2.1 in / 5.33 cm            2.8 in / 7.11 cm
      May 19, 2023                         --                0.9 in / 2.29 cm               1 in / 2.54 cm               1 in / 2.54 cm
       Mar 21, 2022                        --                0.8 in / 2.03 cm              0.9 in / 2.29 cm            0.9 in / 2.29 cm
       Nov 10, 2021                        --               0.75 in / 1.91 cm              0.8 in / 2.03 cm            0.8 in / 2.03 cm
       Apr 28, 2021              2.1 in / 5.33 cm            2.4 in / 6.1 cm                2.6 in / 6.6 cm            2.9 in / 7.37 cm
       Mar 24, 2021                        --                0.8 in / 2.03 cm               1 in / 2.54 cm             2.1 in / 5.33 cm
       Jun 16, 2019                        --                        --                   0.75 in / 1.91 cm            0.75 in / 1.91 cm
       Mar 24, 2019                        --                0.8 in / 2.03 cm               1 in / 2.54 cm               1 in / 2.54 cm
       Mar 8, 2019                         --                        --                    0.8 in / 2.03 cm            0.9 in / 2.29 cm
       Jan 21, 2018                        --                        --                   0.75 in / 1.91 cm            0.8 in / 2.03 cm
       Apr 10, 2017                        --                        --                    1.1 in / 2.79 cm            1.1 in / 2.79 cm
       Apr 1, 2017                         --                        --                    0.8 in / 2.03 cm            0.9 in / 2.29 cm
       Apr 29, 2016                        --               0.75 in / 1.91 cm              0.8 in / 2.03 cm            0.8 in / 2.03 cm
       Mar 23, 2016                  1 in / 2.54 cm          1 in / 2.54 cm                 1 in / 2.54 cm             1.1 in / 2.79 cm
       Dec 27, 2015                        --                0.8 in / 2.03 cm              0.9 in / 2.29 cm            0.9 in / 2.29 cm
       Oct 26, 2013                        --                1 in / 2.54 cm                1.5 in / 3.81 cm            1.5 in / 3.81 cm




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                                                              Estimated Maximum Hail Size
           Date                      At Location      Within 1 mi / 1.61 km       Within 3 mi / 4.83 km            Within 5 Miles
       Aug 13, 2013                      --                     --                    0.8 in / 2.03 cm            0.8 in / 2.03 cm

• Hail dates begin at 6am CST on the indicated day and end at 6am CST the following day.
• Dash "--" indicates 0.75 in / 1.91 cm or larger hail was detected within 3 mi / 4.83 km, but not at location.
• Hail sizes being reported within this report start at 0.75 in / 1.91 cm and increase in 0.1 in / 0.25 cm increments; rounded to
the nearest 0.1 in / 0.25 cm.
• This report contains hail events between Jul 10, 2013 and Jul 09, 2023.




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